Case: 1:95-cr-00048 Document #: 728 Filed: 02/25/16 Page 1 of 4 PageID #:555
Case:Case: 15-2492
      15-2492         Document:
                 Document:      22
                           00712707920     Filed: Filed:
                                                  02/03/2016     Pages:
                                                         02/25/2016     4
                                                                     Pages: 4




                                        In the

              United States Court of Appeals
                          For the Seventh Circuit
                              ____________________
         No. 15-2492
         UNITED STATES OF AMERICA,
                                                            Plaintiff-Appellee,

                                          v.

         LAWRENCE MCCARROLL,
                                                        Defendant-Appellant.
                              ____________________

                  Appeal from the United States District Court for the
                    Northern District of Illinois, Eastern Division.
                     No. 95 CR 48-1 — John J. Tharp, Jr., Judge.
                              ____________________

            ARGUED JANUARY 27, 2016 — DECIDED FEBRUARY 3, 2016
                              ____________________

            Before POSNER, KANNE, and HAMILTON, Circuit Judges.
             PER CURIAM. Lawrence McCarroll moved under
         18 U.S.C. § 3582(c)(2) for a reduced sentence based on
         Amendments 782 and 788 to the sentencing guidelines, which
         retroactively lowered by 2 the base offense level for his drug
         crimes. The district court denied his motion because, despite
         the 2-level reduction, McCarroll’s guidelines imprisonment
         range remains unchanged and he is therefore ineligible for re-
         lief. McCarroll challenges that decision, which we affirm.
Case: 1:95-cr-00048 Document #: 728 Filed: 02/25/16 Page 2 of 4 PageID #:555
Case:Case: 15-2492
      15-2492         Document:
                 Document:      22
                           00712707920     Filed: Filed:
                                                  02/03/2016     Pages:
                                                         02/25/2016     4
                                                                     Pages: 4




         2                                                    No. 15-2492

             By the age of 20, McCarroll was running an extensive con-
         spiracy in which he and multiple codefendants purchased
         high-purity heroin, then diluted and sold it in McCarroll’s
         southside housing project. United States v. Jarrett, 133 F.3d 519,
         524 (7th Cir. 1998). The conspirators were arrested after a fed-
         eral investigation, and a jury found McCarroll guilty of mul-
         tiple drug-related crimes. At McCarroll’s sentencing in 1996,
         the district court found him responsible for distributing over
         75 kilograms of heroin, giving him a base offense level of 38,
         and applied a 4-level increase for his leadership role, resulting
         in a total offense level of 42. Combined with a criminal history
         category of III, McCarroll’s total offense level yielded a guide-
         lines range of 360 months to life, and the court sentenced him
         to 396 months’ imprisonment. We affirmed his convictions
         and sentence. Id.
             In his motion for a reduced sentence, McCarroll acknowl-
         edged that his guidelines imprisonment range remained 360
         months to life. He asserted, though, that the 2-level decrease
         in his total offense level (from 42 to 40) authorized the district
         court to lower his prison sentence to 360 months. The court
         denied McCarroll’s motion with the explanation that U.S.S.G.
         § 1B1.10 (as well as this court’s precedents) makes clear that a
         defendant is ineligible for a sentence reduction if a retroactive
         amendment does not lower the defendant’s guidelines range.
             Section 3582(c)(2) of Title 18 allows for a reduction in the
         sentence “of a defendant who has been sentenced to a term of
         imprisonment based on a sentencing range that has subse-
         quently been lowered by the Sentencing Commission.”
         18 U.S.C. § 3582(c)(2)       (emphasis        added).       Sec-
         tion 1B1.10(a)(2)(B) of the guidelines emphasizes that a re-
         duced term of imprisonment is not authorized by § 3582(c)(2)
Case: 1:95-cr-00048 Document #: 728 Filed: 02/25/16 Page 3 of 4 PageID #:555
Case:Case: 15-2492
      15-2492         Document:
                 Document:      22
                           00712707920     Filed: Filed:
                                                  02/03/2016     Pages:
                                                         02/25/2016     4
                                                                     Pages: 4




         No. 15-2492                                                     3

         if “[a]n amendment … does not have the effect of lowering
         the      defendant’s       applicable     guideline    range.”
         U.S.S.G. § 1B1.10(a)(2)(B) (emphasis added). The Supreme
         Court has explained that § 1B1.10(a)(2)(B) is binding and that
         § 3582(c)(2) does not authorize a full resentencing. Dillon v.
         United States, 560 U.S. 817, 825–26 (2010).
             McCarroll attempts to avoid the limitation on relief avail-
         able under § 3582(c)(2) by asserting that a “’sentencing range’
         and ‘guideline range’ are not necessarily the same.” Because
         the “guidelines range” is calculated using a specific total of-
         fense level and criminal-history category, he posits, his “sen-
         tencing range” is lower due to the 2-level decrease in offense
         level under Amendment 782. McCarroll cites no authority
         supporting this contention, but instead urges us to look to the
         purpose of Amendment 782—reducing the prison popula-
         tion—and hold that a rule making ineligible any defendant
         whose guidelines range remains unchanged would violate
         that purpose by making relief unavailable for thousands of
         prisoners.
              McCarroll’s argument is frivolous. There is no support for
         his assertion that the terms “sentencing range” and “guide-
         line range” mean different things. The limitation on relief un-
         der § 3582(c)(2) and § 1B1.10 is unambiguous; defendants are
         not eligible for a reduced sentence unless their sentencing
         range has been lowered. And as we have explained: “The
         ‘sentencing range’ that must have been changed to permit re-
         lief under § 3582(c)(2) is not the base offense level or any other
         intermediate step in the guideline calculation, but the bottom-
         line, final range that was the basis for the sentence. Relief is
         not available if a retroactive amendment ‘does not have the
         effect of lowering the defendant’s applicable guideline
Case: 1:95-cr-00048 Document #: 728 Filed: 02/25/16 Page 4 of 4 PageID #:555
Case:Case: 15-2492
      15-2492         Document:
                 Document:      22
                           00712707920     Filed: Filed:
                                                  02/03/2016     Pages:
                                                         02/25/2016     4
                                                                     Pages: 4




         4                                                     No. 15-2492

         range.’” United States v. Taylor, 778 F.3d 667, 672 (7th Cir. 2015)
         (quoting U.S.S.G. § 1B1.10(a)(2)(B)); accord United States v.
         Taylor, 627 F.3d 674, 676 (7th Cir. 2010) (concluding that de-
         fendant was ineligible for reduction under § 3582(c)(2) where
         retroactive amendment lowered total offense level but impris-
         onment range remained 360 months to life). McCarroll has
         neither cited contrary authority nor presented a cogent argu-
         ment for overruling our precedent.
                                                                AFFIRMED.
